Case #C14-2034-JSS   EXHIBIT 23 PAGE 0001
Case #C14-2034-JSS   EXHIBIT 23 PAGE 0002
Case #C14-2034-JSS   EXHIBIT 23 PAGE 0003
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                            TOM SELLNER
  Inspection:    350131509460651

  Description:   Photo after giving chinchillas fresh water. All three chinchillas drank continuously for over a minute and
                 appeared extremely thirsty.
                                                  Case #C14-2034-JSS                          EXHIBIT 23 PAGE 0004
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. Within the watusi and zebu enclosure, a broken fence rail is protruding into the enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 23 PAGE 0005
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. Within the watusi and zebu enclosure, a broken fence rail is protruding into the enclosure.
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0006
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 CFR 3 125 (a)




Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                          TOM SELLNER
  Inspection:    350131509460651

  Description:   The windbreak for the Santa Cruz sheep shelter has come off the shelter and is laying on the ground.
                                                 Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0007
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Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. The fence is curled up at the bottom with sharp points that extend into the enclosure. (Santa
                 Cruz sheep exhibit)
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0008
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Photographer:                Heather Cole                              Legal Name:                                             42-C-0084
                                                                       PAMELA SELLNER
 Photo Taken:                Mon, Dec 16, '13
                                                                       TOM SELLNER
      Inspection:            350131509460651

  Description:               Close-up photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                             (Santa Cruz sheep exhibit)
                                                              Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0009
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                 (Santa Cruz sheep exhibit)
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0010
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Photographer:    Heather Cole                             Legal Name:                                       42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                          TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. Male goat with excessively long back hooves (black
                 Toggenburg).
                                                 Case #C14-2034-JSS                  EXHIBIT 23 PAGE 0011
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Photographer:    Heather Cole                            Legal Name:                                            42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                         TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo #1. Male goat with excessively long back hooves (black
                 Toggenburg).
                                                Case #C14-2034-JSS                       EXHIBIT 23 PAGE 0012
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 CFR 2 40 (b) (2)




Photographer:       Heather Cole                            Legal Name:                                                42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:       Mon, Dec 16, '13
                                                            TOM SELLNER
  Inspection:       350131509460651

  Description:      Close-up photo #2. Male goat with excessively long back hooves (black
                    Toggenburg).
                                                   Case #C14-2034-JSS                       EXHIBIT 23 PAGE 0013
Photographer:    Heather Cole                            Legal Name:                                         42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                         TOM SELLNER
  Inspection:    350131509460651

  Description:   Overview photo. Male goat with excessively long back hooves (black
                 Toggenburg).
                                                Case #C14-2034-JSS                    EXHIBIT 23 PAGE 0014
 CFR 2 40 (b) (2)




Photographer:       Heather Cole                             Legal Name:                                            42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:       Mon, Dec 16, '13
                                                             TOM SELLNER
  Inspection:       350131509460651

  Description:      Close-up photo. Male goat with excessively long back hooves (black and white Alpine).
                                                    Case #C14-2034-JSS                       EXHIBIT 23 PAGE 0015
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                          TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. Male goat with excessively long back hooves (black and white Alpine).
                                                 Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0016
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 CFR 2 40 (b) (2)




Photographer:       Heather Cole                              Legal Name:                                           42-C-0084
                                                              PAMELA SELLNER
 Photo Taken:       Mon, Dec 16, '13
                                                              TOM SELLNER
  Inspection:       350131509460651

  Description:      One white and black pygmy goat with excessively long front hooves.
                                                   Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0017
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                 (Fallow deer exhibit)
                                                  Case #C14-2034-JSS                         EXHIBIT 23 PAGE 0018
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                 (Fallow deer exhibit)
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0019
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Photographer:    Heather Cole                              Legal Name:                                               42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. The fence is curled up at the bottom with sharp points that extend into the enclosure. (West
                 sheep exhibit)
                                                  Case #C14-2034-JSS                          EXHIBIT 23 PAGE 0020
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                 (West sheep exhibit)
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0021
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. Ceiling within the primate building has several holes with exposed insulation.
                                                  Case #C14-2034-JSS                         EXHIBIT 23 PAGE 0022
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. Ceiling within the primate building has several holes with exposed insulation.
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0023
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. Ceiling within the primate building has several holes with exposed insulation.
                                                  Case #C14-2034-JSS                         EXHIBIT 23 PAGE 0024
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. Ceiling within the primate building has several holes with exposed insulation.
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0025
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                            TOM SELLNER
  Inspection:    350131509460651

  Description:   Distant photo. The fence is curled up at the bottom with sharp points that extend into the enclosure. (tiger
                 exhibit)
                                                  Case #C14-2034-JSS                          EXHIBIT 23 PAGE 0026
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Mon, Dec 16, '13
                                                           TOM SELLNER
  Inspection:    350131509460651

  Description:   Close-up photo. The fence is curled up at the bottom with sharp points that extend into the enclosure.
                 (tiger exhibit)
                                                  Case #C14-2034-JSS                        EXHIBIT 23 PAGE 0027
